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 AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                        Sheet I



                                           UNITED STATES DISTRICT COURT
                                                         District of Massachusetts
                                                                            )
               UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                                                            )
                                   v.                                       )
                          PATRICK KEOGAN                                    )
                                                                                    Case Number: 1: 16 CR 10244                    - 01       - DPW
                                                                            )
                                                                            )       USM Number: 99711-038
                                                                            )
                                                                                      Jane F. Peachy
                                                                            )
                                                                                    Defendant's Allorney
                                                                            )
 THE DEFENDANT:
 l;ZI pleaded guilty to count(s)        one, two, three and four of the superseding information

 D pleaded nolo contendere to count(s)
   which was accepted by the court.
 D was found guilty on count(s)
   after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                 Nature of Offense                                                            Offense Ended                 Count
 18 U.S.C. §844(e)             Using an Instrument of Interstate and Foreign Commerce to Willfully               11/14/15           One and Two
                               Make a Threat to Injure and Intimidate Another Individual, and to
                               Unlawfully Damage and Destroy a Building, by Means of Fire
18 U.S.C. §922(g)(l)           Felon in Possession of Ammunition and Firearms                                    07/26/16           Three


       The defendant is sentenced as provided in pages 2 through           __8___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
 DThe defendant has been found not guilty on count(s)
 DCount(s)      ------------- □                              is     Dare dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this jud�mcnt are fully paid. I f ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in cconomtc circumstances.
                                                                            3/28/2018




                                                                           Signature of Judge

                                                                                    The Honorable Douglas P. Woodlock
                                                                                    Judge, U.S. District Court
                                                                           Name and Title of Judge
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AO 24SB (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet lA

                                                                                                    Judgment—Page      of
DEFENDANT: PATRICK KEOGAN
CASE NUMBER: 1: 16 OR 10244                           - 01   - DPW

                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                    Nature of Offense                                            Offense Ended       Count
18U.S.C.                     Knowing Possession of ChildPornography in Interstate and Foreign     07/26/16          Four
§2252A(a)(5)(B) and          Commerce
§2252A(b)(2)
                          Case 1:16-cr-10244-DPW Document 78 Filed 03/28/18 Page 3 of 8


AO 24SB (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 — Imprisonment
                                                                                                      Judgment —Page      3       of
 DEFENDANT: PATRICK KEOGAN
 CASE NUMBER:                  16 CR 10244             - 01     - DPW

                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:            60    month(s)




       0    The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends participation in the BOP's Residentiai Drug Abuse Program due to the defendant's substance abuse
     history.


       •    The defendant is remanded to the custody of the United States Marshal.

       •    The defendant shall surrender to the United States Marshal for this district:

            •   at                                 •     a.m.    •   p.m.       on                                            .
            •   as notified by the United States Marshal.

       •    The defendantshall surrender for service of sentence at the institutiondesignated by the Bureau of Prisons:
            •   before 2 p.m. on                                            .
            •   as notified by the United States Marshal.

            •   as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

 I have executed this judgment as follows;




            Defendant delivered on                                                          to

 a                                                     , with a certifiedcopy of thisjudgment.


                                                                                                    UNITED STATES MARSHAL



                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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AO 24SB (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 3 —Supervised Release
                                                                                                         Judanent—Page   4   of
DEFENDANT:           PATRICK KEOGAN
CASE NUMBER:             1; 16 CR 10244             - 01    - DPW
                                                        SUPERVISED RELEASE

Upon release from imprisonment, you will beon supervised release for a term of:                          50 month(s)




                                                     MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfullypossess a controlled substance.
3.    You must refrain from any unlawful use ofa controlled substance. You must submit toone drug test within 15 days ofrelease from
      imprisonment and at leasttwo periodic drug teststhereafter, as determined by the court.
              • Theabove drug testing condition is suspended, basedon the court's determination thatyou
                  pose a low risk of future substance abuse, (check ifapplicable)
4.      0 You mustcooperate in the collection of DNAas directed by the probation officer, (check ifapplicable)
5.         You must comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e/seq.) as
           directed bythe probation officer, the Bureau ofPrisons, orany state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
6.      • You mustparticipatein an approvedprogramfor domestic violence, (check ifapplicable)


You must comply with the standard conditions that have been adopted bythis court as well aswith any other conditions on the attached
page.
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AO 24SB (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 3A — Supervised Release
                                                                                             Judgment—Page         2       of
DEFENDANT:             PATRICK KEOGAN
CASE NUMBER:                1: 16 CR 10244              - 01   - DPW

                                        STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you mustcomply with the following standard conditions of supervision. These conditions are imposed
because theyestablish the basicexpectations foryourbehavior whileon supervision and identify the minimum tools needed by probation
officers to keep informed, reportto the courtabout, and bringaboutimprovements in yourconduct and condition.
1.   Youmustreportto the probation office in the federal judicialdistrict where you are authorized to residewithin 72 hours of your
     release from imprisonment, unless theprobation officer instructs youto report to a different probation office or within a different time
     frame.
2.   After initially reporting to theprobation office, youwill receive instructions from thecourt or theprobation officer about how and
     when you must reportto theprobation officer, and you mustreportto the probation officer as instructed.
3.   Youmustnot knowingly leave the federal judicialdistrict where you are authorized to residewithout firstgetting permission from the
     court or the probation officer.
4.   You must answertruthfully the questions askedby your probationofficer.
5.   You must live at a place approved by theprobation officer. If youplan to change where youlive or anything about your living
     arrangements (such asthe people you live with), you must notify the probation officer at least 10days before the change. If notifying
     the probation officer in advance isnotpossible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home orelsewhere, and you must permit the probation officer to
     take anyitems prohibited by the conditions of yoursupervision thathe or she observes in plainview.
7.   You must work full time (atleast30 hours perweek) at a lawful typeof employment, unless theprobation officer excuses youfrom
     doing so. Ifyou donothave full-time employment you must tryto find full-time employment, unless the probation officer excuses
     you from doing so. Ifyou plan to change where you work oranything about your work (such asyour position oryour job
     responsibilities), you must notify the probation officer atleast 10 days before the change. If notifying the probation officer atleast 10
     days inadvance isnot possible due tounanticipated circumstances, you must notify the probation officer within 72 hours of
     becomingaware of a change or expected change.
8.   Youmustnot communicate or interact withsomeone youknow is engaged in criminal activity. If you know someone hasbeen
     convicted ofa felony, you must not knowingly communicate orinteract with that person without first getting the permission ofthe
     probation officer.
9. Ifyou are arrested orquestioned bya law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, orhave access toa firearm, ammunition, destructive device, ordangerous weapon (i.e., anything that was
    designed, orwas modified for, the specific purpose ofcausing bodily injury ordeath toanother person such as nunchakus ortasers).
11. You must not act ormake any agreement with a law enforcement agency to actasa confidential human source or informant without
      first getting the permission ofthe court.
12. Ifthe probation officer determines that you pose a risk toanother person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person andconfirm thatyou have notified the person about therisk.
13. Youmustfollow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
AU.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
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AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3B — Supervised Release
                                                                                            Judgment—Page          of

DEFENDANT: PATRICK KEOGAN
CASE NUMBER:               1*             10244 - 01 - DPW

                                      ADDITIONAL SUPERVISED RELEASE TERMS

 14) The defendant shall not consume any alcoholic beverages.

 15) The defendant is to participate in a programfor substance abuse counseling as directed by the Probation Office, which
 program may include testing, not to exceed 104 drug tests per year, to determine whether the defendant has reverted to
 the use of alcohol or drugs. The defendant shall be required to contribute to the costs of services for such treatment based
 on the ability to pay or availability of third-party payment.

 16) The defendant is to participate in a mental health treatment program as directed by the Probation Office. The
 defendant shall be required to contribute to the costs of services for such treatment based on the ability to pay or
 availability of third-party payment.

 17) The defendant is prohibited from participating in any gambling activities, including casinogambling, on-line gambling,
 lotteries, instant scratch tickets, Keno, and any other activities similar in nature.

 18) The defendant must attend a gambling-specific treatment program and/ormeetings, as directed bythe Probation
 Office. The defendantshall be required to contribute to the costs ofservices forsuch programming based on the ability to
 pay or availability of third-party payment.

 19) Registration: Pursuant to the Adam Walsh Child Protection and Safety Act of2006. the defendant shall register as a
 sex offender not laterthan 3 business days (from release or sentencing, ifgranted probation). The defendantwill keep the
 registration current, in each jurisdiction where he resides, is employed or is a student. The defendant must, not later than 3
 business days after each change in name, residence, employment, or student status, appear in person in at leastone
 jurisdiction in which he is registered and inform that jurisdiction ofall changes in the information. Failure todo so may not
 only be a violation of this condition but also a new federal offense punishable by up to 10years' imprisonment. In addition,
 the defendant must read and sign the Offender Notice and Acknowledgment of Duty to Register as a Sex Offender per the
 Adam Walsh Child Protection and Safety Act of 2006 form.

 20) Computer/Internet: The defendant must allow the installation ofcomputer internet monitoring software on approved
 internet capabledevices, but may still use a computer for work purposes that has been previously approved bythe
 Probation Office. The program(s) used will be designed to identify, for the Probation Office, the viewing, downloading,
 uploading, transmitting, or otherwise using any images orcontent ofa sexual orothen/vise inappropriate nature. The
 defendant mustnotattempt to remove or otherwise defeat such systems, and must allow the Probation Office to examine
 such computer and receive data from it at any reasonable time.

 21) The defendant must advise anyone using the monitored internet capable devices thatthose devices are being
 monitored by the Probation Office.

 22) The defendant must not possess or use anycomputer or internet-capable device without prior notice to the Probation
 Office. Any such device should notbe used to knowingly access or view sexually explicit materials as defined in 18 U.S.C.
 §2256(2)(A).

 23) The defendant must disclose all account information relative to internet access, social networking, and email, including
 user names and passwords, to the Probation Office. The defendant must also, ifrequested, provide a list of all
 software/hardware on your computer, as well as telephone, cable, or internet service provider billing records and any other
 information deemed necessary by the Probation Office to monitor his computer usage.

 24) The defendant must provide the probation officer with access to any requested financial information for purposes of
 monitoring compliance with the imposed computer access/monitoring conditions, including, but not limited to, credit card
 bills, telephone bills, and cable/satellite television bills.
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AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                             Judgment — Page
 DEFENDANT: PATRICK KEOGAN
 CASE NUMBER:                        CR 10244 - 01                   - DPW
                                                CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                   JVTA Assessment*                    Fine                       Restitution
 TOTALS            $ 400.00                      $ 0.00                              ^ 0.00                      $ 0.00


 •    The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.


 •    The defendant must make restitution (includingcommunity restitution) to the following payees in the amount listed below.

      Ifthe defendant makes apartial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 u.S.C. § 3664(i), all nonfederal victims must bepaid
      before the United States is paid.

 Name of Payee                                                           Total Loss**              Restitution Ordered           Priority or Percentage




 TOTALS                                                                                     0.00     $




 •     Restitution amount ordered pursuant to plea agreement $

 •     The defendant must pay interest onrestitution and a fine of more than $2,500, unless the restitution or fine ispaid infull before the
       fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. §3612(f). All ofthe payment options on Sheet 6may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 •     The court determined that the defendant doesnot have the ability to pay interest and it is ordered that:

       •    the interest requirement is waived for the           •       fine   •   restitution.
       Q theinterest requirement for the            •     fine       •     restitution is modified as follows:

 ♦ Justice forVictims of Trafficking Actof 2015, Pub. L. No. 114-22.                      j,n* ^t-.i lor «•                       j ^
 ** Findings for thetotal amount of losses are required under Chapters 109A, 110, 1lOA, and 113A of Title 18 for offenses committed onor
 after September 13, 1994, but before April 23, 1996.
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AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6 — Sehedule ofPayments
                                                                                                               Judgment—Page                of

 DEFENDANT:            PATRICK KEOGAN
 CASE NUMBER:               1: 16 CR 10244              - 01    - DPW


                                                        SCHEDULE OF PAYMENTS

 Having assessedthe defendant's abilityto pay, paymentof the total criminalmonetarypenalties is due as follows:

 A     0    Lump sum payment of $         400.00                due immediately, balance due

            •     not later than                                     ,or
            •     in accordance with DC,            •    D,     •    E, or      •   F below; or

 B    •     Payment to begin immediately (may becombined with                DC,          • D, or       • F below); or

 C    •     Payment in equal                         (e.g., weekly, monthly, quarterly) installmentsof $                              over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     •    Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60days) after release from imprisonmentto  a
            term of supervision; or

 E     •    Payment during the term ofsupervised release will commence within                  (e.g., 30 or60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay atthat time; or
 F     •    Special instructions regarding thepayment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 the period ofimprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau ofPnsons Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for allpayments previously made toward any criminal monetary penalties imposed.



 •     Joint and Several

       Defendant and Co-Defendant Names and CaseNumbers (including defendant number), Total Amount, Joint and Several Amount,
       and correspondingpayee, if appropriate.




 •     The defendant shall pay the cost ofprosecution.

 •     The defendantshall pay the following court cost(s):

 •     The defendant shallforfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost ofprosecution and court costs.
